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(No subject)

Dan Kilcomons <dkilcomons@gmail.com>

To:Patriotboathauling@hotmail.com <Patriotboathauling@hotmail.com>

Daniel D Kilcomons Jr
17 Embroidery St
Sayreville NJ 08872

August 15 2024

Honorable Amit Mehta
District of Columbia
District Court Judge

Dear Honorable Amit Mehta

| have known Michael Daniele for over ten years and have only witnessed him to be a gentleman. | had
the opportunity to meet Mike when | was in a time of need while transporting my boat he went out of his
way to assist me with asking for nothing in return.

From that day forward | considered him a friend. Mike is a family man with an unbelievable work ethic
and it is admirable how he cares and looks after his ninety year old mother.

Mike is a well respected person and has a reputation for helping everyone.
| consider it a privilege to know Michael Daniele.

| Remain Respectfully Yours,

EXHIBIT

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Daniel D Kilcomons Jr

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